          Case 1:08-cr-00059-AWI Document 97 Filed 08/27/09 Page 1 of 2


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LUIS REYES MOLINA


                                UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA


                                                   )
      UNITED STATES OF AMERICA,                    )   CASE NO. 1:08-cr-00059-AWI
                                                   )
                   Plaintiff,                      )   STIPULATION AND ORDER VACATING
                                                   )   DATE, AND CONTINUING CASE
           vs.                                     )
                                                   )   Date: August 31, 2009
      LUIS REYES MOLINA,                           )   Time: 9:00a.m.
                                                   )   Judge: Hon. Anthony W. Ishii
                                                   )
                   Defendant.




        The defendant, through his undersigned counsel, and the United States, through its

undersigned counsel, agree and stipulate that the Sentencing hearing currently scheduled for

Monday, August 31, 2009, at 9:00 a.m., should be vacated and this matter should be continued until

Monday, October 5, 2009, at 9:00 a.m.

        Additional time is needed for completion of investigation. Mr. Molina is scheduled for a

Safety Valve interview, thus needing additional time to complete same.

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           Case 1:08-cr-00059-AWI Document 97 Filed 08/27/09 Page 2 of 2


         Accordingly, the defendant and the United States agree and stipulate that the Sentencing date

currently scheduled for Monday, August 31, 2009 at 9:00 a.m. should be vacated, and continued for

9:00 a.m. on Monday, October 5, 2009.

IT IS SO STIPULATED

Dated: August 25, 2009                                         /s/ Preciliano Martinez
                                                               PRECILIANO MARTINEZ
                                                               Attorney for Defendant
                                                               LUIS REYES MOLINA


Dated: August 25, 2009                                         /s/Kathleen A. Servatius

                                                               KATHLEEN A. SERVATIUS
                                                               Assistant United States Attorney
                                                               Attorney for Plaintiff



                                              ORDER


IT IS SO ORDERED.

Dated:   August 25, 2009                                 /s/ Anthony W. Ishii
9h0d30                                          CHIEF UNITED STATES DISTRICT JUDGE
